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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

FORT SILL APACHE TRIBE                )
                                      )
               Plaintiff,             )
                                      )
v.                                    )       Civil Action No. 14–0958 (RMC)
                                      )
NATIONAL INDIAN GAMING                )
COMMISSION, et al.,                   )
                                      )
               Defendants.            )
                                      )

                  PLAINTIFF’S CONSENT MOTION FOR ADDITIONAL
                      MODIFICATION OF BRIEFING SCHEDULE

       Plaintiff, through undersigned counsel, respectfully requests that this Court grant an

additional modification of the briefing schedule, by permitting the parties an additional two

weeks within which to file their respective submissions on summary judgment. The grounds for

the request are as follows:

       1. The Court has granted several prior modifications to the briefing schedule, each

requested by the undersigned, who first entered an appearance in this protracted litigation on

January 2, 2019. Plaintiff’s motion for summary judgment is now scheduled for April 12, 2019.

       2. Colleagues in Oklahoma and the Washington area are assisting in the ongoing effort,

including especially Phillip E. Thompson, a Maryland attorney who has not yet been admitted

here pro hac vice, but whose motion for leave is impending.

       3. Mr. Thompson has been intimately involved on behalf of the Fort Sill Apache

throughout each stage of the controversy, including in litigation before the U.S. District Court

for the Western District of Oklahoma culminating in the settlement of March 9, 2007 – among

parties including the U.S. Department of Interior (“Interior”) – that the Tribe anticipated would
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result in a return to aboriginal homelands in New Mexico with the right to engage in Indian

gaming. Mr. Thompson also participated in the lengthy administrative proceedings that took

place thereafter before Interior and the National Indian Gaming Commission; and in the lengthy

litigation that has followed.

       4. Mr. Thompson is recuperating from a recent hip replacement, which has curtailed his

ability to participate in the briefing process. The undersigned should have better accounted for

the requisite recuperation and rehabilitation time following such a surgery in seeking the prior

change in schedule – to April 12th – and regrets having to seek an additional modification.

       5. Defense counsel has kindly indicated consent to our request to modify the briefing

schedule further. We regret any additional inconvenience to the Court.

       WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that the Court

grant modification of the briefing schedule as follows:

       1. Plaintiff’s Motion for Summary Judgment from April 12, 2019 to April 26, 2019;

       2. Defendants’ Cross Motion for Summary Judgment and Response to Plaintiff’s

           Motion for Summary Judgment from May 17, 2019 to May 31, 2019;

       3. Plaintiff’s Response to Defendants’ Cross Motion for Summary Judgment,

           and Reply to Defendants’ Response to Plaintiff’s Motion for Summary

           Judgment from June 24, 2019 to July 8, 2019; and

       4. Defendants’ Reply to Plaintiff’s Response to Defendants’ Cross Motion for

           Summary Judgment from July 8, 2019 to July 22, 2019.

       A proposed Order is attached.




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                                             Respectfully submitted,


                                             /s/ John P. Racin
                                             John P. Racin
                                             Law Office of John P. Racin
                                             1721 Lamont Street, N.W.
                                             Washington, D.C . 20010
                                             (202) 277.7691
                                             Fax: 202.296.5600
                                             Email: johnpracin@gmail.com

                                             Attorney for Plaintiff
                                             Fort Sill Apache Tribe




                              CERTIFICATE OF SERVICE

       The foregoing Plaintiff’s Consent Motion for Additional Modification of Briefing
Schedule will be served to the following counsel for Defendant in this case by the Court’s
CM/ECF system after proper filing of an Adobe PDF version of the above items on the Court’s
secure website on April 5, 2019:

Brian Matthew Collins
U.S. DEPARTMENT OF JUSTICE
ENRD
P.O. Box 7611
Washington, DC 20044
(202) 305-0428
Fax: 202-305-0506
Email: brian.m.collins@usdoj.gov



                                             /s/ John P. Racin
                                             John P. Racin




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